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                UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT

PAUL GAMBOA-TAYLOR,           :
           Appellant          :
                              :
          V.                  :                    No. 14-9005
                              :
COMMISSIONER OF PENNSYLVANIA:
DEPT. OF CORRECTIONS, ET AL., :
             Appellees        :


      APPELLEES’ UNOPPOSED MOTION FOR SECOND,
     60-DAY EXTENSION OF TIME FOR PARTIES TO FILE
                 SUPPLEMENTAL BRIEFS

     Appellees the Commissioner of Pennsylvania Department of

Corrections, et al. (“the Commonwealth”), through undersigned

counsel, hereby respectfully request that this Honorable Court grant

a second, 60-day extension of time within which the parties may file

their supplemental briefs in this case, establishing a new filing

deadline   of    December   17,   2024.       In    support    thereof,     the

Commonwealth avers the following:




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        1.   On April 21, 2015, this Court granted Appellant Paul

Gamboa-Taylor’s (“Taylor”) motion for certificate of appealability in

this capital murder federal habeas corpus case.

        2.   At issue in this appeal is an Order entered by the United

States District Court for the Middle District of Pennsylvania, per the

Honorable Matthew W. Brann (“the District Court”), denying

Taylor’s motion for relief from judgment pursuant to Rule 60(b)(6) of

the Federal Rules of Civil Procedure.

        3.   Taylor filed his counseled brief in this Court on January

13, 2016.

        4.   The Commonwealth filed its counseled brief in this Court

on November 3, 2016.

        5.   Taylor filed his counseled reply brief on February 21,

2017.

        6.   On May 19, 2017, the parties filed supplemental briefs at

the direction of the Court.

        7.   On July 18, 2017, the parties filed supplemental letter

briefs at the direction of the Court.



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      8.    On October 25, 2018, the Court scheduled oral argument

for December 12, 2018.

      9.    On December 4, 2018, Taylor filed a counseled motion

requesting the postponement of oral argument pending the litigation

of claims in state court.

      10.   On December 7, 2018, the Court postponed oral argument

pending resolution of the ongoing state court litigation.

      11.   On June 22, 2021, the Court scheduled oral argument for

August 5, 2021.

      12.   On July 15, 2021, Taylor filed a counseled motion

requesting a continuance of oral argument.

      13.   On July 16, 2021, the Court granted that motion.

      14.   On June 10-11, 2022, the parties filed supplemental letter

briefs at the direction of the Court.

      15.   On June 15, 2022, Taylor filed a counseled motion

requesting the Court to place the proceedings in civil suspense while

additional claims were being litigated in state court.

      16.   On August 23, 2022, the Court placed the case in civil

suspense.
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      17.   On June 20, 2024, Taylor notified the Court that the

previously-pending state court litigation had concluded on May 31,

2024 and moved for leave of Court for the parties to file supplemental

briefs addressing recent developments in the law as they relate to

Taylor’s appeal that was initiated in 2015.

      18.   On June 21, 2024, the Court granted the parties leave to

file supplemental briefs no later than August 19, 2024 not to exceed

7500 words that address the impact of cases relevant to the issue

presented in this case which were decided on or after June 15, 2022.

      19.   On August 16, 2024, the Commonwealth filed a motion

requesting a 60-day extension of time for the parties to file their

supplemental briefs, establishing a new deadline of October 18, 2024.

      20.   The Court did not rule on that motion.

      21.   Due to the press of professional responsibilities in other,

unrelated cases, undersigned counsel for the Commonwealth

requires additional time beyond October 18, 2024 to prepare and file

a thorough, well-reasoned supplemental brief that will meaningfully

assist the Court in disposing of the pending appeal.



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      22.   More specifically, during the past 30 days, undersigned

counsel has been required to: (a) prepare and file a response to a 268-

page PCRA petition in the capital murder case of Commonwealth v.

Donald Tedford in the Butler County Court of Common Pleas, No. 241-

86; (b) prepare and file a response to a PCRA petition in the first-

degree murder case of Commonwealth v. Gary Gerber in the Monroe

County Court of Common Pleas, No. 112-CR-2007; (c) prepare for

and participate in a PCRA evidentiary hearing in the attempted

murder case of Commonwealth v. Jamey Robertson in the Lebanon

County Court of Common Pleas, No. CP-38-CR-1791-2002; and (d)

fulfill his responsibilities as an administrative law judge for the Office

of Attorney General including the conduct of evidentiary hearings

and writing of dispositive Opinions.

      23.   During the next 30 days, undersigned counsel is required

to: (a) prepare and file an appellant’s brief in the first-degree murder

case of Commonwealth v. Brentt Sherwood in the Superior Court of

Pennsylvania, No. 605 MDA 2024; (b) prepare and file a response to a

petition for writ of habeas corpus in Austin Haitos v. Melissa

Hainsworth et. al in the United States District Court for the Middle
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District of Pennsylvania, No. 1:24-cv-00372; (c) prepare and file a

response to a petition for writ of habeas corpus in Travis Berry v.

Superintendent Brothers in the United States District Court for the

Western District of Pennsylvania, No. 1:23-cv-00337-RAL; (d) prepare

and file an appellee’s brief in Commonwealth v. Joshua Lukach in the

Superior Court of Pennsylvania, No. 680 MDA 2024; and (e) fulfill his

responsibilities as an administrative law judge for the Office of

Attorney General including the conduct of evidentiary hearings and

writing of dispositive Opinions.

     24.   For these reasons, the Commonwealth is requesting that

the deadline for the parties’ filing of their supplemental briefs be

extended to December 17, 2024.

     25.   Undersigned counsel has communicated with counsel for

Mr. Taylor, David Zuckerman, Esquire, and Attorney Zuckerman has

indicated that Mr. Taylor does NOT oppose the Commonwealth’s

motion for the grant of an additional 60 days for the filing of the

parties’ supplemental briefs.

     26.   Undersigned counsel certifies that this motion is being

filed in good faith and for no improper purpose.
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     WHEREFORE, Appellees hereby respectfully request that this

Honorable Court grant a second, 60-day extension of time within

which the parties may file their supplemental briefs in this case,

establishing a new filing deadline of December 17, 2024.

                                    Respectfully submitted,

                                    _/s/_WILLIAM R. STOYCOS
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                       CERTIFICATE OF SERVICE

 I hereby certify that I am this day serving one copy of the foregoing
   document upon the persons and in the manner indicated below:

         Via electronic filing and regular mail, postage prepaid, as follows:


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Dated: October 18, 2024




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